When the defendant in a murder case pleads insanity at the time of the homicide, as a defense, and introduces evidence sufficient to overcome the presumption of sanity, and there is no evidence that he was sane at the time of the commission of the offense, a verdict of guilty is unauthorized.
                      No. 16031. DECEMBER 1, 1947.
At the November term, 1944, of Fulton Superior Court the grand jury returned an indictment against Taft Handspike, charging him with murder. When the case came on for trial at the January term, 1945, the defendant entered his special plea of insanity under the Code, § 27-1502, which plea was tried before a jury and a verdict finding in favor of the plea was returned on February 14, 1945, and the court passed an order committing the defendant to the Milledgeville State Hospital, there to remain until discharged in the manner prescribed by law.
At the March term, 1947, the defendant was placed on trial under the indictment; whereupon he entered his plea of not guilty, and the case went to trial. On the trial the defendant contended that he was insane at the time of the commission of the alleged offense. The Jury returned a verdict of guilty with a recommendation of mercy, and he was sentenced to life imprisonment. A motion for new trial on the general grounds was made, which was overruled by the trial court, and the exception is to that ruling.
The State proved the facts of the homicide by two witnesses, a mother and daughter, at whose place of residence the homicide occurred. Both witnesses testified: The homicide occurred on *Page 116 
November 10, 1944. The defendant and the deceased came to their house that night. The daughter, Harriet Brown, arose from bed to let them in. They came in laughing and talking. The mother, Iona Patterson, got up and prepared some food. The daughter returned to bed. The deceased and the defendant commenced "flipping coins," and from the talk they had already been gambling before they got to the house. The deceased accused the defendant of winning his money, and they started arguing, and the defendant shot the deceased.
The State's witness, Iona Patterson, on cross-examination testified as follows in regard to the condition of the defendant's mind: "He would talk rational for a little and then go off and tell me he was God Almighty and nobody couldn't hurt him. Then he told me I had dogs, that was the dogs' mother. He had a dog and I had a dog. He told me that I was that dog's mother. I did talk to him on more than one occasion; when he would go off on these wild-goose things about being God, and walking on water, all that sort of stuff. About him saying anything about walking on water — he said he was God; he said something about walking on water like Peter did; he said a lot of things that I knowed was not right. He said he was God and could not nobody harm him; he said he was preaching, you could preach different things out of the Bible. . . You ask whether or not in my opinion I thought he was mentally unbalanced, crazy — well, I didn't think he had a mind; and I told my brother before this killing ever took place, and that he had better watch him."
Dr. C. R. F. Beall, psychiatrist, was sworn for the defendant, and the State waived proof of his qualifications. The material part of his testimony was as follows: "I first saw Taft Handspike on or about the latter part of August, 1944, at which time he was a patient in the Veterans Hospital out here, No. 48. At that time he was quite restless. . . He would stand in all kinds of fixed and awkward positions with his arms outstretched, head thrown back, or his eyes closed. In those positions he told me he was going through death, and frequently frigid or otherwise be quiet and unusual, he talked with imaginary persons through the window. He mentioned that they were trying to kill him. He says they cannot kill me though, I am God; he was very suspicious of his food, he asked that his food be tasted, inspected *Page 117 
there before he would eat it. He said poison was in his food. During his stay in the hospital there, he would eat very little. On the basis of that biography and those beliefs that he was being poisoned, that he was God, and efforts being made to kill him, yet due to his all-powerful position as God he could not be killed — and it was my opinion that he was actively insane at that time, and I recommended that he be transferred to a hospital for the treatment of such cases, . . and I believe he was transferred to the Veterans Administration Hospital in Tuskegee on that account, for that treatment. . . I am asked if when he came back from Tuskegee and was confined in the jail, and my representing the Veterans Bureau as a psychiatrist, if I visited him down here at the county jail shortly after this murder. I did. . . I went down there on several occasions to examine him so as to determine what his condition was at that time. That was in the middle of February, 1945. . . At that time he was quieter than he had been, at least than he was when I seen him earlier, that is in August, 1944, but he still had these ideas of persecution, and ideas he was being poisoned, that he was still an outstanding person, so to speak, and he still was reacting in my opinion to hallucinations and delusions even in February, 1945; so that, even though he had been to Tuskegee for a period of treatment, he was still, in my opinion, mentally insane at the time he was examined in February, 1945. In my professional capacity and my long experience in dealing with these people, it is my opinion that, in January or February of 1945 at the time I examined him, . . he was mentally insane, in February, 1945; and my opinion is the same thing as to his mental condition when I examined him in August, 1944, that he was insane at that time."
A letter from the Veterans Administration at Tuskegee, Alabama, dated January 13, 1945, in regard to the defendant, was admitted in evidence without objection. The letter stated that the defendant was admitted to that facility August 18, 1944, and discharged October 14, 1944. A resume of the medical status and behavior of the defendant while hospitalized there was given as follows: "Oct. 12, 1944: Observation and examination reveal a colored male adult 37 years of age with a history of acute emotional upset characterized by confusion and religious ideation *Page 118 
predicated on the alleged infidelity of his wife, whom he stated gave his money to her boy friend while he was in the Army. He was incarcerated in jail in Atlanta, Georgia, and during that period he would shout, preach and sing, was quite noisy, stated, `They can't kill me tho', I am God.' He was suspicious of his food and stated it should be tested and inspected before he ate it. Records show he eloped from his home after arrangements had been made to have him admitted to the hospital. Hospital attendants and the station car were sent for him but he saw them before they saw him and eloped, later his brother had him put in jail for safe-keeping until arrangements could be made for his transfer to V. A., Atlanta, Ga.
"Upon his admission to V. A. F., Atlanta, Georgia, there were ideas of persecution and grandeur. He was actively hallucinated and maintained fixed religious attitudes, was restless, and hyperactive. He was transferred from Atlanta to this facility (Tuskegee), and after a few days of treatment, his restlessness and confusion subsided, he became cooperative, well oriented and negative for gross-conduct disorders. The diagnoses as a result of his hospitalization here were given as: 1. 2529 Psychosis, acute, simple, situational; 2. 1335 Pleurisy, right (X-ray)."
The defendant introduced in evidence the verdict of the jury on February 13, 1945, adjudging that he was insane, and the order of the court committing him to the State Hospital at Milledgeville.
The sole question for determination in this case is whether or not the defendant was insane at the time of the homicide. The evidence of the witnesses for the State was amply sufficient to show that the defendant killed the deceased. His defense on the trial of the case was that he was insane at the time of the commission of the act, and he introduced evidence for the purpose of showing his insanity.
In every case there is a presumption that the accused is same, but this presumption may be overcome by a preponderance of *Page 119 
the evidence. Allams v. State, 123 Ga. 500 (51 S.E. 506). In this case, since the State offered no evidence to show that the accused had mental capacity to distinguish between right and wrong as to the act committed, the only burden on the defendant was to introduce evidence sufficient to overcome the presumption of sanity.
To show the insanity of the accused at the time of the commission of the offense, it is relevant to introduce testimony showing the mental condition of the accused at the time of the offense, and his mental condition before and after the offense may be proved as tending to show his condition at the time of the offense. Flanagan v. State, 103 Ga. 619 (4) (30 S.E. 550). Dr. Beall, a qualified psychiatrist, testified that he examined the defendant at the Veterans Hospital in Atlanta in the latter part of August before the homicide in November. He related the abnormal actions of the defendant, and stated that it was his opinion that the defendant was insane. The authorities of the Veterans Hospital at Tuskegee, Alabama, made a report as of October 14, less than a month before the homicide, in which they gave their diagnosis of the defendant as "psychosis," a psychiatric term denoting a serious mental derangement. One of the State's witnesses gave an account of the irrational ideas of the defendant and stated that she did not think he "had a mind." The special plea filed in January, 1945, alleged that the defendant was insane, unable to understand the nature of the charge against him, and unable to advise his counsel regarding his defense. The jury trying this issue found in favor of the plea, thus adjudicating that the defendant was insane at that time.
In Wilson v. State, 9 Ga. App. 275 (70 S.E. 1128), the Court of Appeals held that the accused had carried the burden of proving his insanity, and reversed the judgment of the lower court. In discussing that case the court stated in part as follows (at page 287): "Insanity is a question of fact, and not of law, and it is the exclusive province of the jury to determine all questions of fact; but this does not mean that juries can arbitrarily disregard the clearest and most convincing proof, and accept, as the truth in the evidence, that which, from every standpoint of reason and human experience, is not entitled to any evidentiary weight or value; and, if they do so, the ends of justice demand *Page 120 
that their verdict should be disregarded. Believing, as we do, from a careful consideration of the evidence in this record, that it furnishes the most convincing proof of mental unsoundness, and finding no fact or circumstance in the case that tends in the slightest degree to rebut this overwhelming and conclusive proof, we feel compelled to set aside the verdict finding that the accused was criminally responsible for his act."
It is insisted by the State that there was no evidence that the defendant was suffering from any delusion in connection with which the homicide occurred, and there was no evidence showing that the degree of mental weakness he had was such that he could not distinguish between right and wrong. We fully recognize the well-settled rules of this State to be applied in determining criminal responsibility. Rozier v. State, 185 Ga. 320
(195 S.E. 172). However, when convincing proof has been introduced that the defendant was insane at the time of the commission of an offense, this would be sufficient evidence that he could not distinguish between right and wrong as to the particular act. InLong v. State, 38 Ga. 507, it was stated: "If the prisoner was insane at the commission of the act, he is not guilty; he may prove his condition under that plea. It is, in all crimes, one of the ingredients of the offense that there shall be a joint operation of act and intent, and an insane person cannot, in a legal sense, have any intent. Indeed, in murder, soundness of mind, in the perpetration of the act, is a part of the definition of the crime." Since there was no attempt to show that the act committed was caused by a delusion, we do not need to deal with delusional insanity.
When there is no evidence to support a verdict, it is always the duty of this court to set aside such verdict under the general grounds of the motion for new trial. Since the uncontradicted evidence showed that the defendant was a person of unsound mind, the verdict finding him guilty of murder was unauthorized.
Judgment reversed. All the Justices concur, except Wyatt, J.,who took no part in the consideration or decision of this case. *Page 121 